Case 4:19-cr-00184-CVE Document 2 Filed in USDC ND/OK on 09/05/19 Page 1 of 1

FILED

NG SEP 05 2019

IN THE UNITED STATES DISTRICT COURT Me eee ee unT

FOR THE NORTHERN DISTRICT OF OKLAHOMA

Case No. 19 CR 18 4 CVE

UNITED STATES OF AMERICA,

 

Plaintiff, INDICTMENT
[18 U.S.C. § 875(d): Interstate
Vv. Communication With Intent to
IVAN ARROYO,

a/k/a “marcus207,”
a/k/a “tyreseiol2,”

)
)
)
)
)
) Extort]
)
)
)
)
Defendant. )

THE GRAND JURY CHARGES:

From on or about March 17, 2018, to on or about March 18, 2018, in the Northern
District of Oklahoma, the defendant, IVAN ARROYO, a/k/a “Marcus 207,” a/k/a
“tyreseiol2,” knowingly transmitted in interstate and foreign commerce, with intent to
extort things of value from S.C., a person known to the Grand Jury, an electronic
communication containing a threat to injure the reputation of another person known to the
Grand Jury.

All in violation of Title 18, United States Code, Section 875(d).

R. TRENT SHORES A TRUE BILL
UNITED STATES ATTORNEY

 
   

: /s/ Grand Jury Foreperson
SHANNON B. COZZONI Grand Jury Foreperson

Assistant United States Attorney
